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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY, Individually,                :
                                         :
              Plaintiff,                 :
                                         :
v.                                       :              Case No.
                                         :
RADNOR HOTEL ASSOCIATES, A               :
Pennsylvania Limited Partnership,        :
                                         :
              Defendant.                 :
________________________________________ :


                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, OWEN HARTY, Individually, on his behalf and on behalf of all other individuals

similarly situated, (sometimes referred to as “Plaintiff”), hereby sues Defendant, RADNOR HOTEL

ASSOCIATES, A Delaware Limited Liability Company, (referred to hereinafter as “Defendant”),

for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.     Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies as an

       individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

       life activity of walking. Instead, Plaintiff is bound to ambulate in a wheelchair.

2.     Plaintiff is an advocate of the rights of similarly situated disabled persons and is a "tester"

       for the purpose of asserting his civil rights and monitoring, ensuring, and determining

       whether places of public accommodation and their websites are in compliance with the ADA.

3.     Defendant owns, leases, leases to, or operates a place of public accommodation as defined

       by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The
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     place of public accommodation that Defendant owns, operates, leases or leases to is a place

     of lodging known as The Radnor Hotel, 591 E. Lancaster Ave., St. Davids, PA 19087, and

     is located in the County of Delaware, (hereinafter "Property").

4.   Venue is properly located in the EASTERN DISTRICT OF PENNSYLVANIA because

     venue lies in the judicial district of the property situs. Defendant’s property is located in and

     does business within this judicial district.

5.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

     jurisdiction over actions which arise from Defendant’s violations of Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and

     § 2202.

6.   As the owner, lessor, lessee, or operator of the subject premises, Defendant is required to

     comply with the ADA. As such, Defendant is required to ensure that its place of lodging

     is in compliance with the standards applicable to places of public accommodation, as set

     forth in the regulations promulgated by the Department Of Justice. Said regulations are set

     forth in the Code Of Federal Regulations, the Americans With Disabilities Act Architectural

     Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated by reference into the

     ADA. These regulations impose requirements pertaining to places of public accommodation,

     including places of lodging, to ensure that they are accessible to disabled individuals.

7.   More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following requirement:

             Reservations made by places of lodging. A public accommodation that owns,
             leases (or leases to), or operates a place of lodging shall, with respect to
             reservations made by any means, including by telephone, in-person, or through a
             third party -



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                    (i) Modify its policies, practices, or procedures to ensure that individuals
                    with disabilities can make reservations for accessible guest rooms during
                    the same hours and in the same manner as individuals who do not need
                    accessible rooms;
                    (ii) Identify and describe accessible features in the hotels and guest rooms
                    offered through its reservations service in enough detail to reasonably
                    permit individuals with disabilities to assess independently whether a
                    given hotel or guest room meets his or her accessibility needs;
                    (iii) Ensure that accessible guest rooms are held for use by individuals
                    with disabilities until all other guest rooms of that type have been rented
                    and the accessible room requested is the only remaining room of that type;
                    (iv) Reserve, upon request, accessible guest rooms or specific types of
                    guest rooms and ensure that the guest rooms requested are blocked and
                    removed from all reservations systems; and
                    (v) Guarantee that the specific accessible guest room reserved through its
                    reservations service is held for the reserving customer, regardless of
                    whether a specific room is held in response to reservations made by others.

8.   These regulations became effective March 15, 2012.

9.   Defendant, either itself or by and through a third party, implemented, operates, controls

     and or maintains a website for the Property which contains an online reservations system.

     The term "website" also includes all websites owned and operated by Defendant or by

     third parties to book or reserve guest accommodations at the hotel. The purpose of this

     website is so that members of the public may reserve guest accommodations and review

     information pertaining to the goods, services, features, facilities, benefits, advantages, and

     accommodations of the Property. As such, this website is subject to the requirements of

     28 C.F.R. Section 36.302(e). This website is located at the following domains:

     a.      https://www.expedia.com/Philadelphia-Hotels-The-Radnor-Hotel.h11545727.Hot

             el-Information

     b.      https://www.hotelsone.com/wayne-hotels-us/the-radnor-hotel.ja.html




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      c.      https://www.hotels.com/ho535400/the-radnor-hotel-wayne-united-states-of-ameri

              ca/

      d.      https://radnorhotel.com/

10.   Prior to the commencement of this lawsuit, Plaintiff visited the website for the purpose of

      reviewing and assessing the accessible features at the Property and ascertain whether they

      meet the requirements of 28 C.F.R. Section 36.302(e) and his accessibility needs.

      However, Plaintiff was unable to do so because Defendant failed to comply with the

      requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived

      the same goods, services, features, facilities, benefits, advantages, and accommodations

      of the Property available to the general public.

      a.      Expedia.com - This website does not identify or allow for booking of accessible

              rooms and provides insufficient information regarding accessibility at the hotel.

      b.      Hotelsone.com - This website does not identify or allow for booking of accessible

              rooms and provides insufficient information regarding accessibility at the hotel.

      c.      Hotels.com - This website does not identify or allow for booking of accessible

              rooms and provides insufficient information regarding accessibility at the hotel.

      d.      Radnorhotel.com - This website does not identify or allow for booking of

              accessible rooms and provides insufficient information regarding accessibility at

              the hotel.

11.   In the near future, Plaintiff intends to revisit Defendant's website and/or online

      reservations system in order to test it for compliance with 28 C.F.R. Section 36.302(e)

      and/or to utilize the website to reserve a guest room and otherwise avail himself of the


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      goods, services, features, facilities, benefits, advantages, and accommodations of the

      Property.

12.   Plaintiff is continuously aware that the subject website remains non-compliant and that it

      would be a futile gesture to revisit the website as long as those violations exist unless he

      is willing to suffer additional discrimination.

13.   The violations present at Defendant's website infringe Plaintiff's right to travel free of

      discrimination and deprive his of the information required to make meaningful choices

      for travel. Plaintiff has suffered, and continues to suffer, frustration and humiliation as

      the result of the discriminatory conditions present at Defendant's website. By continuing

      to operate a website with discriminatory conditions, Defendant contributes to Plaintiff's

      sense of isolation and segregation and deprives Plaintiff the full and equal enjoyment of

      the goods, services, facilities, privileges and/or accommodations available to the general

      public. By encountering the discriminatory conditions at Defendant's website, and

      knowing that it would be a futile gesture to return to the website unless he is willing to

      endure additional discrimination, Plaintiff is deprived of the same advantages, privileges,

      goods, services and benefits readily available to the general public. By maintaining a

      website with violations, Defendant deprives Plaintiff the equality of opportunity offered

      to the general public.

14.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

      Defendant’s discrimination until Defendant is compelled to modify its website to comply

      with the requirements of the ADA and to continually monitor and ensure that the subject

      website remains in compliance.


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15.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

      Defendant’s non-compliance with the ADA with respect to this website. Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by Defendant.

16.   Defendant has discriminated against Plaintiff by denying him access to, and full and equal

      enjoyment of, the goods, services, facilities, privileges, advantages and/or

      accommodations of the subject website.

17.   Plaintiff and all others similarly situated will continue to suffer such discrimination,

      injury and damage without the immediate relief provided by the ADA as requested

      herein.

18.   Defendant has discriminated against Plaintiff by denying him access to full and equal

      enjoyment of the goods, services, facilities, privileges, advantages and/or

      accommodations of its place of public accommodation or commercial facility in violation

      of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, Defendant continues to

      discriminate against Plaintiff, and all those similarly situated by failing to make

      reasonable modifications in policies, practices or procedures, when such modifications

      are necessary to afford all offered goods, services, facilities, privileges, advantages or

      accommodations to individuals with disabilities; and by failing to take such efforts that

      may be necessary to ensure that no individual with a disability is excluded, denied

      services, segregated or otherwise treated differently than other individuals because of the

      absence of auxiliary aids and services.




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19.   Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff

      has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

      litigation expenses from Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

20.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

      Injunctive Relief, including an order to require Defendant to alter the subject website to

      make it readily accessible and useable to Plaintiff and all other persons with disabilities as

      defined by the ADA and 28 C.F.R. Section 36.302(e); or by closing the website until such

      time as Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.      The Court issue a Declaratory Judgment that determines that Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.      Injunctive relief against Defendant including an order to revise its website to comply

              with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and maintain

              the website to ensure that it remains in compliance with said requirement.

      c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

      d.      Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

              Respectfully Submitted,

                                             THOMAS B. BACON, P.A.




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                                    By:
                                          John F. Ward, Esquire (I.D. No. 81350)
                                          329 S. Devon Rd.
                                          Wayne, PA 19087
                                          Phone: 610-952-0219
                                          Fax: 954-237-1990
                                          johnfward@gmail.com

                                          Thomas B. Bacon, Esquire (I.D. No. 58629)
                                          644 North McDonald St.
                                          Mt. Dora, FL 32757
                                          Phone 954-478-7811
                                          Fax: 954-237-1990
                                          tbb@thomasbaconlaw.com

Date: August 31, 2020
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___________________________________________________________________________________________________________________________________________________________

                                   UNITED STATES DISTRICT COURT
                                                      for the
                                        EASTERN DISTRICT OF PENNSYLVANIA

  OWEN HARTY, Individually,                                                     )
           Plaintiff,                                                           )
  v.                                                                            )      Civil Action No.
                                                                                )
  RADNOR HOTEL ASSOCIATES, A                                                    )
  Pennsylvania Limited Partnership,                                             )
                Defendant.                                                      )


                                                SUMMONS IN A CIVIL ACTION

To:                     RADNOR HOTEL ASSOCIATES
                        595 East Lancaster Ave.
                        Suite 303
                        Saint Davids, PA 19087

        A lawsuit has been filed against you.
        Within 21 days after service of this summons on you (not counting the day you received
it) — or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on Plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on Plaintiff or plaintiff’s attorney, whose name
and address are:
               John F. Ward
               Thomas B. Bacon, P.A.
               329 S. Devon Ave.
               Wayne, PA 19087
               610-952-0219

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

                                                                                                CLERK OF COURT


Date: ________________________                                                                  ____________________________
                                                                                                Signature of Clerk or Deputy
